JUN - 8 2010-3 &PM

Case 1:06-cv-05103-JGK Document 6 Filed 06/08/10 Page 1 of 2 !

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DATE FILED: O@/ OF {0_}

ORIGINAL

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

1:97cv05538 (CSH) (THK
i
Local Unions 20, 135, et al,

Plaintiff MINUTE ORDER PURSUANT TO
. MEMORANDUM FROM THE
-against- ADMINISTRATIVE OFFICE OF THE
. U.S. COURTS, DATED JUNE 15TH, 1973
United Brotherhood, et al,
Defendant

The attached list of cases having been pending for more than three years, all pre:
contemplated proceedings having been completed, and there having been no action for more than
twelve months, there appears to be no further reason at this time to maintain these files | |

as open
for statistical purposes, the Clerk is instructed to complete a JS-6 closing report for each case.

sently

Nothing contained in this minute order shall be considered a dismissal or disposition of
these matters, and should further proceedings in them become necessary or desirable, any party
may initiate it in the same manner as if this minute order had not been entered.

SO ORDERED:
DATED: New York, N.Y.
June 1, 2010

Chief Judge

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JUDGE

Dolinger
Haight
Jones
Jones

Koeltl

Koeltl
Robinson

Swain

Sweet
Sweet
Sweet
Sweet

THREE YEAR OLD CASE LIST

CASE NUMBER PLAINTIFF DEFENDANT

1:07cv02329(MHD) _—S Ke etal Saigon Grill, Inc., et al
1:97cv05538 (CSH) (THK) Local Unions 20, 135, et al United Brotherhood, et al

1:05cv08212 (BSJ) (RLE) Gottesman United States of America
1:05cv09922 (BSJ) (JCF) Jamie Music Publishing Roc-A-Fella Records, LLC, et al
Co., et al

1:07cv02695 (JGK) Allouf, et al Oppenheimer Investment, AG, et
al

Sinclair, et al

Building Material Teamsters
Local 282, et al

Marvel Characters, Inc., et al

1:06cv05103 (JGK)
7:04cv03356 (SCR)

Godfrey
Granite/Halmar
Construction Co., Inc.
Columbia Pictures

Industries, Inc., et al
Millennium, L.P.

1:07cv03597 (LTS) (JCF)

1:07cv04061 (RWS) Columbiasoft Corporation

1:07cv03824 (RWS) AWB Geneva S.A. Spot on Shipping Limited, et al
1:07cv03400 (RWS) Stukes USA
1:07cv01052 (RWS) Roberts Walsh

DATE FILED

03/21/2007

07/25/1997
09/23/2005
11/23/05

04/03/2007

07/05/2006
05/03/2004

05/04/2007

05/23/2007
05/15/2007
04/30/2007
02/14/2007
